    Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 1 of 33




       IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

IN RE GEORGIA SENATE BILL 202                      Master Case No.: 1:21-
                                                   MI-55555-JPB
GEORGIA STATE CONFERENCE OF THE
NAACP, et al.,                                     Civil Action No.: 1:21-
                                                   cv-01259-JPB
                        Plaintiffs,
                  v.

BRAD RAFFENSPERGER, in his official
capacity as the Secretary of State for the
State of Georgia, et al.,

                        Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                   Intervenor-Defendants.
SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et al.,                Civil Action No.: 1:21-
                                                   cv-01284-JPB
                        Plaintiffs,
                  v.
BRIAN KEMP, Governor of the State of Georgia,
in his official capacity, et al.,

                        Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                        Intervenor-Defendants.
  Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 2 of 33




 GEORGIA NAACP PLAINTIFFS’ MOTION FOR A PRELIMINARY
INJUNCTION BASED ON IMMATERIAL VOTING REQUIREMENTS




                                  i
         Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 3 of 33




                                        TABLE OF CONTENTS

                                                                                                                 PAGE

INTRODUCTION .....................................................................................................1

BACKGROUND .......................................................................................................2

         A.       GEORGIA REMOVED A SIMILAR BIRTHDATE
                  REQUIREMENT AFTER THIS DISTRICT HELD IT VIOLATED
                  FEDERAL LAW ...................................................................................2

                  1.       This District Struck Down Birthdate Requirements in 2018 ......2

                  2.       The General Assembly Dismantled Birthdate Requirements
                           in 2019.........................................................................................5

         B.       SB 202 REINSTATES A BIRTHDATE REQUIREMENT THAT
                  DISENFRANCHISES ELIGIBLE ABSENTEE VOTERS .................6

ARGUMENT .............................................................................................................9

         A.       PLAINTIFFS HAVE A SUBSTANTIAL LIKELIHOOD OF
                  SUCCESS ..............................................................................................9

                  1.       Plaintiffs Have Standing. ............................................................9

                  2.       The Birthdate Requirement Violates the CRA. ........................13

         B.       IRREPARABLE HARM ABSENT AN INJUNCTION IS
                  CERTAIN ............................................................................................19

         C.       THE BALANCE OF HARDSHIPS WEIGHS STRONGLY IN
                  FAVOR OF A PRELIMINARY INJUNCTION ................................20

         D.       THE PUBLIC INTEREST STRONGLY FAVORS AN
                  INJUNCTION .....................................................................................22

CONCLUSION ........................................................................................................23



                                                           ii
        Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 4 of 33




                                     TABLE OF AUTHORITIES

CASES                                                                                                    PAGE(S)
Action NC v. Strach,
   216 F. Supp. 3d 597 (M.D.N.C. 2016) ............................................................... 19
Arcia v. Fla. Sec’y of State,
   772 F.3d 1335 (11th Cir. 2014) .......................................................................... 10
City of S. Miami v. Governor,
   65 F.4th 631 (11th Cir. 2023) .......................................................................10, 12
Democratic Party of Georgia, Inc. v. Crittenden,
  347 F. Supp. 3d 1324 (N.D. Ga. 2018) ........................................................passim
Fla. State Conf. of NAACP v. Browning,
   522 F.3d 1153 (11th Cir. 2008) .................................................................... 12, 14
Georgia Coal. for People's Agenda, Inc. v. Kemp,
  347 F. Supp. 3d 1251 (N.D. Ga. 2018) ............................................................... 19
Gonzalez v. Governor of Ga.,
  978 F.3d 1266 (11th Cir. 2020) ............................................................................ 9
Havens Realty Corp. v. Coleman,
  455 U.S. 363 (1982) ......................................................................................11, 12
Jones v. Jessup,
   279 Ga. 531 (2005) ............................................................................................. 16
League of Women Voters of Fla. v. Browning,
   863 F. Supp. 2d 1155 (N.D. Fla. 2012) .............................................................. 22
League of Women Voters of Fla. v. Cobb,
   447 F.Supp.2d 1314 (S.D. Fla. 2006) ................................................................. 19
League of Women Voters of N.C. v. N. Carolina,
   769 F.3d 224 (4th Cir. 2014) .............................................................................. 20
Martin v. Crittenden,
  347 F. Supp. 3d 1302 (N.D. Ga. 2018) ........................................................passim
Migliori v. Cohen,
  36 F.4th 153 (3d Cir. 2022) ................................................................................ 18
Obama for Am. v. Husted,
  697 F.3d 423 (6th Cir. 2012) .............................................................................. 22



                                                         iii
         Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 5 of 33




Project Vote, Inc. v. Kemp,
   208 F. Supp. 3d 1320 (N.D. Ga. 2016) ............................................................... 19
Purcell v. Gonzalez,
  549 U.S. 1 (2006) ................................................................................................ 22
Schwier v. Cox,
   340 F.3d 1284 (11th Cir. 2003) .................................................................... 14, 23
Touchston v. McDermott,
  234 F.3d 1133 (11th Cir. 2000) .......................................................................... 20
Vote.org v. Georgia State Election Board,
   No. 1:22-CV-01734-JPB, 2023 WL 2432011
   (N.D. Ga. March 9, 2023) .............................................................................12, 14
Wesberry v. Sanders,
  376 U.S. 1 (1964) ................................................................................................ 20
Winter v. Nat. Res. Def. Council, Inc.,
  555 U.S. 7 (2008) .................................................................................................. 9
Wood v. Raffensperger et al.,
  No. 20-cv-4651-SDG (N.D. Ga. Nov. 19, 2020).................................................. 6
STATUTES
Civil Rights Act, 52 U.S.C. §10101 .................................................................passim
O.C.G.A. § 21-2-216............................................................................................2, 15
O.C.G.A. § 21-2-381.................................................................................................. 3
O.C.G.A. § 21-2-386.................................................................................................. 4
RULES
Local Rule § 5.1 ....................................................................................................... 28
OTHER AUTHORITIES
House Bill 316 ....................................................................................................... 1, 5
SAFE Commission Report to the General Assembly, p. 3 (Jan. 10, 2019),
  https://sos.ga.gov/sites/default/files/2022-
  03/safe_commission_report_final_1-10-18.pdf ................................................... 5
Senate Bill 202 ........................................................................................................... 1




                                                             iv
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 6 of 33




                                INTRODUCTION

      The 2022 election results show that Senate Bill 202 (“SB 202”) has already

denied the right to vote to hundreds and potentially thousands of qualified Georgia

voters by rejecting absentee ballots without a correct birthdate on the return

envelope.   Absent a preliminary injunction, the birthdate requirement will,

disenfranchise many more eligible voters in the upcoming 2024 primaries and

general election. Because this “error or omission” on the ballot return envelope is

“not material to determining” whether any person “is qualified under State law to

vote”—as the State and counties admit—this requirement violates the Civil Rights

Act (the “CRA”), 52 U.S.C. §10101(a)(2)(B). This Court should enjoin it.

      Indeed, this District held twice before, in 2018, that laws requiring absentee

voters to provide birthdates on ballot return envelopes violate the CRA. See Martin

v. Crittenden, 347 F. Supp. 3d 1302 (N.D. Ga. 2018); Democratic Party of Georgia,

Inc. v. Crittenden, 347 F. Supp. 3d 1324 (N.D. Ga. 2018) (the “Crittenden” cases).

In both cases, the court granted injunctions ordering officials to count absentee

ballots despite a then-existing Georgia law that required voters to write their birth

years on the envelope. Id. Following these decisions, Georgia removed the birth-

year requirement. House Bill 316 (“HB 316”) § 30. This slashed the rejection rate

for absentee ballots, ensuring that many more valid votes were counted. Yet, despite



                                         1
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 7 of 33




the prior injunctions, and with full knowledge that the immaterial birthdate

requirement would increase rejections of valid ballots, the General Assembly and

Governor Kemp in 2021 reintroduced a birthdate requirement in SB 202.

      To stop SB 202’s immaterial birthdate requirement from disenfranchising

more Georgians in the upcoming 2024 elections, the Georgia State Conference of

the NAACP and other signatory Plaintiffs below (“Plaintiffs”) request that this

Court enter an injunction that parallels those in the Crittenden cases: ENJOIN

Defendants from rejecting absentee ballots based on any error or omission relating

to SB 202’s requirement of birthdates on ballot return envelopes and ORDER the

Secretary of State to count such ballots and refuse certification of election results

until all such ballots have been counted.

                                 BACKGROUND

A.    GEORGIA REMOVED A SIMILAR BIRTHDATE REQUIREMENT
      AFTER THIS DISTRICT HELD IT VIOLATED FEDERAL LAW

      1.     This District Struck Down Birthdate Requirements in 2018.

      Birthdate plays only one role in determining qualifications to vote under

Georgia law. A voter must be “[a]t least 18 years of age on or before the date of the

primary or election in which such person seeks to vote”—a determination made at

the time of registration. O.C.G.A. § 21-2-216(a)(3) (2020).




                                            2
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 8 of 33




      From 2007 to 2018, Georgia law nonetheless required absentee voters to write

their birthdates on ballot return envelopes, even though those voters had already

proven their age eligibility when registering, and after election officials had already

confirmed their eligibility to receive ballots. A registered voter could request an

absentee ballot by completing an application requiring the voter’s name, home

address, the election the voter wished to vote in, and the voter’s signature on an oath.

O.C.G.A. § 21-2-381 (a)(1)(C) & (b)(2) (2018). Before mailing an absentee ballot

and two envelopes to the voter, Georgia law required election officials to “compare

the Identifying information on the application with the information on file in the

registrar’s office and, if the application is signed by the elector, compare the

signature or mark of the elector on the application with the signature or mark of the

elector on the elector’s voter registration card.” O.C.G.A. § 21-2-381 (b)(1) (2018).

      To submit the absentee ballot, the voter had to place the ballot in a first

envelope, and then place that envelope in a second, ballot return envelope. On the

ballot return envelope, voters had to again sign an oath, and provide their home

address and birthdate. Georgia law changed in 2017, requiring voters to instead

write their year of birth on the envelope. O.C.G.A. § 21-2-384(c)(1) (2018).

Georgia law further provided that, if the voter failed to put this information on the




                                           3
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 9 of 33




return envelope, the absentee ballot “shall” be rejected.            O.C.G.A. § 21-2-

386(a)(1)(C) (2018).

      During the 2018 election, this District held, in two separate decisions, that

requiring birth year information violated the Materiality Provision of the CRA,

which forbids officials from denying the right to vote “because of an error or

omission on any record or paper relating to any . . . act requisite to voting, if such

error or omission is not material in determining whether such individual is qualified

under State law to vote in such election.” 52 U.S.C. § 10101(a)(2)(B). In Martin,

the court held that “a voter’s ability to correctly recite his or her year of birth on the

absentee ballot envelope is not material to determining said voter’s qualifications

under Georgia law,” and accordingly enjoined Gwinnett County from rejecting

absentee ballots for failure to provide year of birth on the return envelope. 347 F.

Supp. 3d at, 1308-09. One day later, the court in Democratic Party of Georgia

adopted “the rationale set forth in” Martin and confirmed “that absentee mail-in

ballots rejected solely because of an omitted or erroneous birth date must be

counted” state-wide and granted plaintiffs’ motion for a preliminary injunction

concerning these rejected ballots. 347 F. Supp. 3d at, 1347.




                                            4
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 10 of 33




      2.     The General Assembly Dismantled Birthdate Requirements in
             2019.

      Less than two months after the Crittenden decisions, the Secure, Accessible

& Fair Elections (“SAFE”) Commission recommended changes to Georgia voting

law. Then-Secretary of State Brian Kemp established the SAFE Commission “to

thoroughly study and discuss all options for Georgia’s next voting system, with a

focus on security, transparency, voter experience, accessibility and inclusion, voters’

ability to adjust to a new system, and the ability of election officials to adapt to a

new system quickly and accurately.”1 The Commission found that Georgia should

update its absentee ballot process in light of recent court orders, including to “make

clear that slight variations in any information on the envelope not be a reason to

reject an absentee ballot unless the variation does not allow the election official to

identify the voter and confirm that the voter cast the ballot.” Id. at 18.

      In 2019, following the Commission’s recommendations, the Georgia General

Assembly passed, and the Governor signed, House Bill 316 (“HB 316”). HB 316

removed the requirement that voters write their birth year on ballot return envelopes.

HB 316 § 30.



1
 SAFE Commission Report to the General Assembly, p. 3 (Jan. 10, 2019), available
at https://sos.ga.gov/sites/default/files/2022-03/safe_commission_report_final_1-
10-18.pdf.

                                           5
     Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 11 of 33




      Eliminating the immaterial birth year requirement cut the rejection rate for

valid absentee ballots. Just a few months before SB 202’s enactment, counsel for

the Secretary of State and members of the Georgia State Election Board confirmed

that HB 316 had “resulted in a significant decrease in the percentage of absentee

ballots that were rejected at the outset” in the 2020 General Election as compared to

the 2018 General Election, in part because “[t]here were quite a number in 2018 that

were rejected for that missing [birthdate] information.” See Decl. of Laurence

Pulgram dated May 17, 2023 (“Pulgram Decl.”) Ex. 1 at 51:12-15 (Oral Argument

Transcript from Wood v. Raffensperger et al., No. 20-cv-4651-SDG (N.D. Ga. Nov.

19, 2020), ECF. No. 64,).

B.    SB 202 REINSTATES A BIRTHDATE REQUIREMENT THAT
      DISENFRANCHISES ELIGIBLE ABSENTEE VOTERS

      Despite this history, SB 202 reinstitutes the very type of absentee-ballot-

envelope birthdate requirement that the Crittenden cases held impermissible.

Registered voters who submit an absentee ballot application must include their

name, date of birth, address as registered, address where they want the ballot mailed,

a signed oath, and the number on their driver’s license or identification card. SB

202 § 25 at 945-48. Election officials must compare the applicant’s “name, date of

birth, and number of his or her Georgia driver’s license or identification card” in the

application with the same information in the voter’s registration records to “verify

                                          6
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 12 of 33




the identity of the applicant.” Id. at 1056-63. If the application contains all the

required fields and the information on the application matches that in the voter file,

then the applicant is considered “eligible to vote.” Id. The registrar will then mail

an absentee ballot to the voter, along with two envelopes. Id. at 1074-76.

      To submit an absentee ballot, a voter must place it first in one envelope, which

then must be placed into a second, ballot return envelope. SB 202 § 28 at 1453-60.

The ballot return envelope must now include not only the voter’s signed oath, but

also the voter’s full date of birth, the voter’s driver’s license or identification card

number, or if not available, the last 4 digits of his or her social security number. Id.

The election official must then compare the date of birth and driver’s license or state

identification number on the envelope with the same information in the voter’s

registration records. Id. § 29 at 1570-79.

      Under SB 202, if the voter does not properly write his or her birthdate or other

identification number, the official must reject the ballot. Id. at 1593-99; Pulgram

Decl. Ex. 2 at 211:6-213:5, 81:7-82:17 (Transcript of April 5, 2023 Deposition of

Keisha Smith (“Smith Depo. Tr.”)). That is the case even though, as the State admits

in its discovery responses, the birthdate requirement “is not used to determine

whether the individual is ‘qualified’ to vote under Georgia law.” Pulgram Decl. Ex.

3 at 3 (State Defendants’ Responses and Objections to Plaintiff’s First Interrogatories


                                             7
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 13 of 33




dated May 16, 2022). Upon rejection of an absentee ballot, voters have just three

days from the date of the election, no matter when they receive notice of the error or

omission, to “cure” the problem by submitting an affidavit to the county registrar or

clerk, along with a valid form of identification. SB 202 § 29 at 1602-07. Otherwise,

the lack of birthdate negates their vote.

      The foreseeable consequence of the renewed birthdate requirement is more

disenfranchised Georgians. The table below shows the number of absentee ballots

rejected due to the birthdate requirement just before and after enactment of SB 202,

as identified for just the six counties that have responded to Plaintiffs’

interrogatories.

                                 Pre-SB 202          Post-SB 202
             County         Nov. 2020 Jan. 2021 Nov. 2022 Dec. 2022
        Athens-Clarke           0          0       17            3
        Chatham                 0          0       25           49
        Cobb                    0          0        0          180
        Fulton2                 0          0     16-283       1-279
        Hall                    0          0        3           1
        Richmond                0          0       21           13




2
  Fulton County responded that it combines its count of ballot rejections due to the
birthdate requirement with rejections due to the missing driver’s license number (or
alternative identifications). This resulted in the ranges described in the text.

                                            8
     Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 14 of 33




See Pulgram Decl. Exs. 4-9 (interrogatory responses of County Defendants). Even

the limited information available shows that this birthdate requirement has already

disenfranchised qualified voters in every county reporting.

                                   ARGUMENT

      To obtain a preliminary injunction, the movant must establish that: (1) it has

a substantial likelihood of success on the merits; (2) it will suffer an irreparable

injury unless the injunction is granted; (3) the harm from the threatened injury

outweighs the harm the injunction would cause the opposing party; and (4) the

injunction would not be adverse to the public interest. Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008). The third and fourth factors merge when the

government opposes injunctive relief. Gonzalez v. Governor of Ga., 978 F.3d 1266,

1271 (11th Cir. 2020) (citing Swain v. Junior, 961 F.3d 1276, 1285 n.3 (11th Cir.

2020)). Here, all factors support a preliminary injunction.

A.    PLAINTIFFS HAVE A SUBSTANTIAL LIKELIHOOD OF SUCCESS

      1.     Plaintiffs Have Standing.

      To establish standing, a plaintiff must show (1) that it has suffered, or faces an

imminent, “concrete and particularized” injury; (2) that defendant’s conduct caused

that injury; and (3) that the injury or threat is redressable by a favorable outcome.

Democratic Party of Ga., 347 F. Supp. 3d at 1336. Each requirement is met here.



                                          9
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 15 of 33




      First, Plaintiffs have suffered and will suffer a concrete injury through their

“diversion-of-resources” to address SB 202’s illegal requirements.             “[A]n

organization has standing to sue when a defendant’s illegal acts impair the

organization’s ability to engage in its own projects by forcing the organization to

divert resources in response.” Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1341–42

(11th Cir. 2014). An organization must show that it has “diverted its resources,” and

that “the injury to the identifiable community that the organization seeks to protect

is itself a legally cognizable Article III injury that is closely connected to the

diversion.” City of S. Miami v. Governor, 65 F.4th 631, 638 (11th Cir. 2023).

Plaintiffs satisfy both prongs.

      Plaintiffs are organizations that aid underrepresented communities, including

people of color and/or women, to participate in voting. Pulgram Decl. Ex. 10 at ¶ 2

(Decl. of Gerald Griggs dated May 16, 2023 (“Griggs Decl.”)); Pulgram Decl. Ex.

11 at ¶ 2 (Decl. of Susannah Scott dated May 15, 2023 (“Scott Decl.”)); Pulgram

Decl. Ex. 12 at ¶ 2 (Decl. of Gerardo Gonzalez dated May 15, 2023 (“Gonzalez

Decl.”)); Pulgram Decl. Ex. 13 at ¶ 4 (Decl. of Treaunna (“Aunna”) Dennis dated

May 16, 2023 (“Dennis Decl.”)); Pulgram Decl. Ex. 14 at ¶ 2; (Decl. of Helen Butler

dated May 14, 2023 (“Butler Decl.”)); Pulgram Decl. Ex. 17 at ¶ 4 (Decl. of Shafina

Khabani dated May 16, 2023 (“Khabani Decl.”)). The organizations’ core missions


                                         10
     Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 16 of 33




include promoting voter registration, voter education, election protection, and

maximizing voter participation. Id. Their limited resources have been and will

continue to be diverted from other activities to address the immaterial birthdate

requirement, through time spent educating voters about absentee ballots, constituting

a “concrete and demonstrable injury.” Havens Realty Corp. v. Coleman, 455 US

363, 379 (1982). See also, e.g., Griggs Decl. at ¶ 9 (“As part of this effort, for the

first time in its history, the Georgia NAACP organized a statewide, 22-city voter

education campaign, including town halls, civic engagement events, and church

events throughout Georgia, to make sure that people were aware of SB 202’s voting

processes and its new restrictions, and that they had available options to participate

in the franchise.”); Scott Decl. at ¶ 7 (“In the wake of SB 202, the LWVGA also had

to organize a number of town halls, information sessions, trainings and other civic

engagement events with local Leagues and Georgia voters to educate them about SB

202’s new restrictions on the absentee ballot process and its changes to elections

laws more broadly.”); see also Gonzalez Decl. at ¶ 7; Dennis Decl. ¶ 8; Butler Decl.

¶¶ 6-10; Khabani Decl. ¶¶ 6-8.

      Using an immaterial birthdate requirement to reject valid votes also impairs

Plaintiffs’ missions to maximize the right to vote. Griggs Decl. ¶ 10; Scott Decl. ¶

9; Gonzalez Decl. ¶ 8; Dennis Decl. ¶ 7; Butler Decl. ¶ 8. This “concrete and


                                         11
     Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 17 of 33




demonstrable injury to the organization’s activities—with the consequent drain on

the organization’s resources—constitutes far more than simply a setback to the

organization’s abstract social interests.” Havens Realty Corp., 455 U.S. at 379.

      These injuries to Plaintiffs and to the communities they represent—i.e., people

of color and women—is legally cognizable and is closely connected to the

organizations’ missions. The failure to count votes is not hypothetical or conjectural;

it has already happened and will continue to happen to the communities that

Plaintiffs serve. See Fla. State Conf. of NAACP v. Browning, 522 F.3d 1153, 1160

(11th Cir. 2008). This injury is a direct consequence of SB 202’s reinstitution of an

immaterial birthdate rule that Georgia abandoned in 2019. Compare City of S.

Miami, 65 F.4th at 839 (finding no standing where “[t]he record is rife with

speculative fears of future harm” but “fails to establish that local officers profiled

anyone based on S.B. 168”) (emphasis added).

      Alternatively, the Plaintiffs also have associational standing.           As in

Crittenden, given the tens of thousands of members of Plaintiffs’ groups collectively,

it is highly likely that ongoing rejection of absentee ballots because of the birthdate

requirement will affect some of Plaintiffs’ members.         As this Court recently

recognized, “[t]his probable danger is sufficient to satisfy the injury prong for

associational standing.” Vote.org v. Georgia State Election Board, No. 1:22-CV-


                                          12
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 18 of 33




01734-JPB, 2023 WL 2432011 (N.D. Ga. March 9, 2023) (quoting Democratic

Party of Ga., 347 F. Supp. 3d at 1337, and discussing Browning and Arcia).

      Second, as to causation, the State’s reinstatement of the birthdate requirement

and the Counties’ failure to count valid absentee votes directly cause both the

diversion of resources and the frustration of the Plaintiffs’ missions. The Court “can

trace a direct line between . . . any county’s[] decision to reject an absentee ballot for

missing information, when that information is not material to verifying a voter’s

identity, and the resulting injury when that person’s vote is not counted.”

Democratic Party of Ga., 347 F. Supp. 3d at 1338. There is no legitimate question

that Defendants’ rejection of otherwise valid ballots due to immaterial paperwork

requirements has directly caused and will cause the injuries discussed above. Id.

      Third, a preliminary injunction can redress this injury to Plaintiffs and the

communities they serve. After all, “any injunction that clarifies the legal

requirements surrounding absentee ballots . . . can reduce the number of rejected

ballots, thereby addressing the individual harm suffered by Plaintiffs’ members” and

can “reduce Plaintiffs’ burden of assisting voters.” Id. at 1338.

      2.     The Birthdate Requirement Violates the CRA.

      The Materiality Provision of the CRA prohibits “denying the right of any

individual to vote in any election” based on an “error or omission on any record or



                                           13
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 19 of 33




paper related to any application, registration, or other act requisite to voting, if such

error or omission is not material to determining whether such individual is qualified

under State law to vote in such election.” 52 U.S.C. §10101(a)(2)(B). No racially

discriminatory intent or effect is required. Instead, this provision “prohibits denying

the right to vote based on errors or omissions that are not material in determining

voter eligibility,” Browning, 522 F.3d at 1173, “thus providing an excuse to

disqualify potential voters.” Schwier v. Cox, 340 F.3d 1284, 1294 (11th Cir. 2003)

(finding direct private right of action under the CRA, as well as right of action under

Section 1983 to enforce CRA) (citation omitted); Vote.org, 2023 WL 2432011 at *6

(same for organizational plaintiff).

      The elements of a CRA violation are met here because SB 202 (1) denies

qualified voters the right to vote by rejecting their ballots (2) due to an “error or

omission” in omitting or erroneously inputting birthdates (3) on a “record or paper

relating to any . . . act requisite to voting,” i.e., the absentee ballot return envelope

required to submit the ballot, (4) which is immaterial to whether the voter “is

qualified under State law to vote in the election.”

      To evaluate materiality, the Court considers “whether, accepting the error as

true and correct, the information contained in the error is material to determining the

eligibility of the applicant” to vote. Browning, 522 F.3d at 1175. The ability of


                                           14
     Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 20 of 33




voters to correctly write their birthdate on an absentee ballot return envelope has no

bearing on determining their eligibility to vote under Georgia law. To the contrary,

to be eligible to vote in Georgia, one need only meet the following qualifications:

(1) U.S. citizenship; (2) Georgia residency; (3) at least 18 years old on or before the

applicable primary or election; (4) no adjudication of incompetency; and (5) no

outstanding sentence for a felony conviction. O.C.G.A. § 21-2-216(a) (2020).

      Georgia confirms that a person is old enough to vote when they register. See

O.C.G.A. § 21-2-216(a)(3) (2020). And SB 202 requires that election officials verify

a voter’s eligibility before sending out an absentee ballot and return envelope in the

first place. Under SB 202, election officials check whether absentee voters are

“eligible to vote” by comparing their absentee ballot application with their voter

registration card. SB 202 § 25 at 945-48. Officials only mail an absentee ballot and

return envelope after confirming eligibility to cast an absentee vote. Id. at 1074-76.

The presence of the voter’s date of birth on the return envelope afterwards is entirely

unnecessary and therefore immaterial to eligibility.

      The State’s discovery responses admit as much.            They state that “the

requirement that the voter print his or her date of birth in the space provided on the

outer oath envelope of the absentee ballot packet is not used to determine whether

the individual is ‘qualified’ to vote under Georgia law.” Pulgram Decl. Ex. 3 at 3


                                          15
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 21 of 33




(State Defendants’ Responses and Objections to Plaintiff’s First Interrogatories

dated May 16, 2022) (emphasis added). Local elections officials have also that the

birthdate on the absentee ballot envelope is not used to determine a voter’s eligibility.

Pulgram Decl. Ex. 2 at 213:2-13 (“Q. So the request for a birth date on the absentee

ballot envelope is not then used to determine a voter’s eligibility; is that correct? A.

That’s correct. Q. This was already done in the registration process? A. Yes.”).

      Georgia courts have repeatedly found that absentee ballots reflecting an

inaccurate birthdate must still be counted. The Georgia Supreme Court recognizes

that the law “does not mandate the automatic rejection of any absentee ballot lacking

the elector’s place and/or date of birth.” Jones v. Jessup, 279 Ga. 531, 533 n.5 (2005)

(finding that absentee ballots with an incorrect date of birth still counted because

they “substantially complied with all of the essential requirements”). This District

followed suit in the Crittenden cases, relying on Jones to enjoin election officials

from rejecting absentee ballots where the voter did not provide their year of birth on

the envelope. 347 F. Supp. 3d at 1308-11. Those courts held that “a voter’s ability

to correctly recite his or her year of birth on the absentee ballot envelope” violated

the CRA because “election officials have already confirmed such voters’ eligibility

through the absentee ballot application process.” Martin, 347 F. Supp. 3d at 1308-

09; accord Democratic Party of Ga., 347 F. Supp. 3d at 1347.


                                           16
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 22 of 33




      SB 202 revives the immaterial birthdate requirement struck down in the

Crittenden cases with no legitimate justification. The State Defendants claim that

“the voter’s date of birth is used by county election officials to assist them in

verifying the identity of the voter.” Pulgram Decl. Ex. 3 at 3 (emphasis added). But

at no point during discovery have Defendants offered any explanation on why such

information is necessary for validating a voter that officials have already deemed

eligible to vote and issued an absentee ballot. State Defendants’ expert Justin

Grimmer, Ph.D., testified that he thought that “the ID requirements will ensure that

voters are who they say they are,” without concluding that a birthdate was needed.

Pulgram Decl. Ex. 16 at 180:22-181:17 (Transcript of May 1, 2023 Deposition of

Dr. Justin Grimmer (“Grimmer Depo. Tr.”)).

      Nor can the State Defendants salvage the birthdate requirement by a claim

that there is a “lack of elector confidence in the election system” stemming from

“allegations of rampant voter fraud.” See SB 202 Section 2 (1), (4). Federal law

does not permit immaterial obstacles to voting because of unsupported claims they

prevent fraud or promote public confidence. See 52 U.S.C. §10101(a)(2)(B). It

prohibits exactly such requirements. “Whatever sort of fraud deterrence or

prevention this requirement may serve, it in no way helps the [State] determine

whether a voter’s age, residence, citizenship, or felony status qualifies them to vote.”


                                          17
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 23 of 33




Migliori v. Cohen, 36 F.4th 153, 163 (3d Cir. 2022), vacated as moot sub nom. Ritter

v. Migliori, 143 S.Ct. 297 (Oct. 11, 2022) (finding absence of handwritten date on

absentee ballot return envelope immaterial under CRA).

      In all events, there is no proof of significant absentee ballot fraud in Georgia,

much less proof that a birthdate requirement would be material to reducing fraud. It

is highly improbable to believe that a fraudster who somehow obtains an eligible

voter’s ballot and identification or social security number would not also know that

voter’s date of birth. If anything, just the opposite; the usual voter ID (e.g., driver’s

license) generally includes the date of birth. Requiring a birthdate is immaterial even

under the farfetched, hypothetical scenario of an effort to obtain, and return, a single

fraudulent ballot. As the State’s own expert witness, Dr. Justin Grimmer testified,

“there is no evidence of meaningful fraud in Georgia [elections] in 2020.” Grimmer

Depo. Tr. at 36:19-20; see also id. at 38:11-39:2 (explaining analysis finding claims

of fraud to be false).

      The denial of even one qualified voter’s ballot due to an immaterial

requirement establishes a violation of the statute.3 The undisputed record to date

shows at least hundreds in six counties, alone.


3
 The superficiality of SB 202’s “cure” process is magnified in that it grants absentee
voters a mere three days after the election to cure. SB 202 § 27 at 1258-61. As the
uncounted votes in 2022 reflect, voters do not always receive timely notice that a

                                           18
     Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 24 of 33




B.    IRREPARABLE HARM ABSENT AN INJUNCTION IS CERTAIN

      Absent injunctive relief, organizational Plaintiffs will suffer irreparable harm

as they will both continue to face frustration of their mission of maximizing voter

participation and be required to divert resources to assist voters in addressing issues

arising from the immaterial birthdate requirement. See Georgia Coal. for People’s

Agenda, Inc. v. Kemp, 347 F. Supp. 3d 1251, 1268 (N.D. Ga. 2018) (finding that

Plaintiffs, as organizations, suffer irreparable injury distinct from the injuries of

eligible voters because, without an injunction, their organizational missions “will

continue to be frustrated and organization resources will continue to be diverted to

assist with [the challenged law]”). Both this frustration of purpose and diversion of

resources constitute irreparable harm: Plaintiffs’ opportunities to increase voter

participation “cannot be remedied once lost” (id.), and there is no monetary remedy

that can correct it. See Project Vote, Inc. v. Kemp, 208 F. Supp. 3d 1320, 1350 (N.D.

Ga. 2016); see also Action NC v. Strach, 216 F. Supp. 3d 597, 642 (M.D.N.C. 2016);

League of Women Voters of Fla. v. Cobb, 447 F.Supp.2d 1314, 1339 (S.D. Fla. 2006).

      Similarly, irreparable harm is threatened to the Plaintiff associations’

constituencies whose ballots will go uncounted. When restrictions threaten the right



cure is necessary or time to comply, particularly if they are submitting an absentee
ballot because they will be out of the state on election day.

                                          19
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 25 of 33




to vote, “irreparable harm is presumed and no further showing of injury need be

made.” Touchston v. McDermott, 234 F.3d 1133, 1158-59 (11th Cir. 2000). That is

because “a violation of the right to vote cannot be undone through monetary relief

and, once the election results are tallied, the rejected electors will have been

disenfranchised without a future opportunity to cast their votes.” Martin, 347 F.

Supp. 3d at 1309.

C.    THE BALANCE OF HARDSHIPS WEIGHS STRONGLY IN FAVOR
      OF A PRELIMINARY INJUNCTION

      Any purported hardship that Defendants suffer from a preliminary injunction

is outweighed by the harm that Plaintiffs seek to redress. SB 202’s birthdate

requirement disenfranchises already eligible voters for simply failing to write a

correct date of birth on a ballot return envelope. “No right is more precious in a free

country than that of having a voice in the election of those who make the laws under

which, as good citizens, we must live.” Wesberry v. Sanders, 376 U.S. 1, 17 (1964).

Without an injunction, voters have been and will be stripped of their fundamental

right to vote, for which there is no after-the-fact remedy: “[O]nce the election occurs,

there can be no do-over and no redress. The injury to these voters is real and

completely irreparable if nothing is done to enjoin this law.” League of Women

Voters of N.C. v. N. Carolina, 769 F.3d 224, 247 (4th Cir. 2014).




                                          20
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 26 of 33




      In contrast, Defendants will suffer little, if any, hardship from an injunction.

Plaintiffs request narrow and easily implemented relief that would not disrupt

upcoming elections or even require change in forms. If anything, enjoining the

Secretary of State and County Defendants from rejecting otherwise valid ballots

based on the immaterial birthdate requirement would make review of absentee

ballots easier, as birthdates need not be checked. The Secretary of State would also

issue an Official Election Bulletin advising of this and be enjoined from certifying

the election until county election officials confirm that they have complied. The

relief sought is straightforward and mirrors the relief granted on a much shorter

timeline in the two prior court decisions after the 2018 general election. Democratic

Party of Ga., 347 F. Supp. 3d at 1340-41 (enjoining certification of election results

until Secretary “has confirmed that each county’s returns include the counts for

absentee ballots where the birth date was omitted or incorrect”); Martin, 347 F. Supp.

3d at 1308-09 (enjoining Gwinnett County from rejecting absentee ballots because

of omitted or incorrect dates of birth).4




4
  Of course, if there is sufficient time before an election to eliminate the immaterial
requirement from absentee ballot forms, that remedy is preferable. But if the State
contends there is insufficient time, then counting absentee ballots regardless of
birthdate information on the return envelope is an adequate alternative.

                                            21
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 27 of 33




      For these reasons, the prudential principles in Purcell v. Gonzalez, 549 U.S. 1

(2006) do not weigh against an injunction here. To the contrary, Purcell supports

immediate issuance of an injunction now, to ensure relief is granted sufficiently in

advance of coming elections to prevent any disruption or confusion.

D.    THE PUBLIC INTEREST STRONGLY FAVORS AN INJUNCTION

      Vindicating voting rights and enforcing “a federal statute serve the public

interest almost by definition.” League of Women Voters of Fla. v. Browning, 863 F.

Supp. 2d 1155, 1167 (N.D. Fla. 2012); see also Obama for Am. v. Husted, 697 F.3d

423, 437 (6th Cir. 2012) (explaining that a preliminary injunction serves the public

interest when it helps permit “as many qualified voters to vote as possible”).

      Further, as explained above, Defendants have not and cannot show that the

birthdate requirement will prevent even a single instance of fraud, and Congress

enacted the Materiality Provision to eliminate exactly these kinds of clerical hurdles

to the right to vote rather than subject them to a balancing test.

      Accordingly, the public interest here is best served by a procedure that allows

otherwise valid absentee ballots to be cast and counted without the risk of being

rejected because the voter omitted immaterial information. Without an injunction,

the State of Georgia will continue to enforce “an excuse to disqualify potential




                                          22
     Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 28 of 33




voters” by creating immaterial requirements that needlessly “increase the number of

errors or omissions on the application forms.” Schwier, 340 F.3d at 1294.

                                  CONCLUSION

      For the reasons above, Plaintiffs respectfully ask this Court to grant this

motion for a preliminary injunction and enter an order: enjoining Defendants from

rejecting absentee ballots based on any error or omission relating to SB 202’s

requirement of birthdates on ballot return envelopes, directing the Secretary of State

to issue guidance to all counties to comply, and ordering the Secretary of State to

count such ballots and refuse certification of election results until all such ballots

have been counted.

      Respectfully submitted, this 17th day of May, 2023.

/s/ Bryan L. Sells                         /s/ Laurence F. Pulgram
Bryan L. Sells                             Laurence F. Pulgram*
Georgia Bar No. 635562                     lpulgram@fenwick.com
THE LAW OFFICE OF BRYAN                    Molly Melcher*
SELLS, LLC                                 mmelcher@fenwick.com
PO Box 5493 Atlanta, Georgia 31107         Armen Nercessian*
Tel: (404) 480-4212                        anercessian@fenwick.com
Email: bryan@bryansellslaw.com             Ethan Thomas*
                                           ethomas@fenwick.com
Jon Greenbaum*                             FENWICK & WEST LLP
Ezra D. Rosenberg*                         555 California Street
Julie M. Houk*                             San Francisco, CA 94104
Jennifer Nwachukwu*                        Telephone: 415.875.2300
Heather Szilagyi*
jgreenbaum@lawyerscommittee.org            Joseph S. Belichick*
erosenberg@lawyerscommittee.org            jbelichick@fenwick.com

                                         23
    Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 29 of 33




jhouk@lawyerscommittee.org              FENWICK & WEST LLP
jnwachukwu@lawyerscommittee.org         Silicon Valley Center
hszilagyi@lawyerscommittee.org          801 California Street
LAWYERS’ COMMITTEE FOR                  Mountain View, CA 94041-2008
CIVIL RIGHTS UNDER LAW                  Telephone: 650-988-8500
1500 K Street NW, Suite 900
Washington, D.C. 20005                  Catherine McCord*
Telephone: (202) 662-8600               cmccord@fenwick.com
Facsimile: (202) 783-0857               FENWICK & WEST LLP
                                        902 Broadway, Suite 14
Vilia Hayes*                            New York, NY 10010
Neil Oxford*                            Telephone: (212) 430-2690
Gregory Farrell*
HUGHES HUBBARD & REED LLP               *Admitted pro hac vice
One Battery Park Plaza New York,
New York 10004-1482                     Attorneys for Plaintiffs Georgia State
Telephone: (212) 837-6000               Conference of the NAACP, Georgia Coalition
Facsimile: (212) 422-4726               for the People’s Agenda, Inc., League of
                                        Women Voters of Georgia, Inc., GALEO
                                        Latino Community Development Fund, Inc.,
                                        Common Cause, and the Lower Muskogee
                                        Creek

/s/ Pichaya Poy Winichakul              /s/ Leah C. Aden
Bradley E. Heard (Bar No. 342209)       Leah C. Aden*
bradley.heard@splcenter.org             laden@naacpldf.org
Pichaya Poy Winichakul (Bar 246858)     Alaizah Koorji*
poy.winichakul@splcenter.org            akoorji@naacpldf.org
Nancy G. Abudu (Bar 001471)             John S. Cusick*
nancy.abudu@splcenter.org               jcusick@naacpldf.org
Matletha N. Bennette*                   NAACP LEGAL DEFENSE AND
matletha.bennette@splcenter.org         EDUCATIONAL FUND, INC.
SOUTHERN POVERTY                        40 Rector Street, 5th Floor
LAW CENTER                              New York, New York 10006
150 E. Ponce de Leon Ave., Suite 340    Telephone: (212) 965-2200
Decatur, Georgia 30031-1287             Facsimile: (212) 226-7592
Telephone: (404) 521-6700
Facsimile: (404) 221-5857               Anuja Thatte*

                                       24
    Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 30 of 33




                                         athatte@naacpldf.org
Jess Unger*                              NAACP LEGAL DEFENSE AND
jess.unger@splcenter.org                 EDUCATION FUND, INC.
Sabrina S. Khan*                         700 14th Street, NW
sabrina.khan@splcenter.org               Washington, DC 20005
SOUTHERN POVERTY                         Telephone: (202) 682-1300
LAW CENTER
1101 17th Street NW, Suite 705           /s/ Debo P. Adegbile
Washington, DC 20036                     Debo P. Adegbile*
Telephone: (202) 728-9557                debo.adegbile@wilmerhale.com
                                         Alexandra Hiatt*
/s/ Adam S. Sieff                        alexandra.hiatt@wilmerhale.com
Adam S. Sieff*                           WILMER CUTLER PICKERING
adamsieff@dwt.com                        HALE AND DORR LLP
Daniel Leigh**                           250 Greenwich Street
danielleigh@dwt.com                      New York, New York 10007
Brittni A. Hamilton*                     Telephone: (212) 230-8800
brittnihamilton@dwt.com                  Facsimile: (212) 230-8888
DAVIS WRIGHT TREMAINE LLP
865 South Figueroa Street, 24th Floor    George P. Varghese*
Los Angeles, California 90017-2566       george.varghese@wilmerhale.com
Telephone: (213) 633-6800                Stephanie Lin*
Facsimile: (213) 633-6899                stephanie.lin@wilmerhale.com
                                         Arjun K. Jaikumar*
Matthew R. Jedreski*                     arjun.jaikumar@wilmerhale.com
mjedreski@dwt.com                        Mikayla C. Foster*
Grace Thompson*                          mikayla.foster@wilmerhale.com
gracethompson@dwt.com                    Sofia C. Brooks*
Danielle E. Kim*                         sofie.brooks@wilmerhale.com
daniellekim@dwt.com                      WILMER CUTLER PICKERING
Kate Kennedy*                            HALE AND DORR LLP
katekennedy@dwt.com                      60 State Street
Shontee Pant*                            Boston, Massachusetts 02109
ShonteePant@dwt.com                      Telephone: (617) 526-6000
DAVIS WRIGHT TREMAINE LLP                Facsimile: (617) 526-5000
920 Fifth Avenue, Suite 3300
Seattle, Washington 98104-1610           Tania C. Faransso*
Telephone: (206) 622-3150                tania.faransso@wilmerhale.com

                                        25
    Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 31 of 33




Facsimile: (206) 757-7700               WILMER CUTLER PICKERING
                                        HALE AND DORR LLP
David M. Gossett*                       1875 Pennsylvania Ave. NW
davidgossett@dwt.com                    Washington, D.C. 20006
Courtney DeThomas*                      Telephone: (202) 663-6000
courtneydethomas@dwt.com                Facsimile: (202) 663-6363
DAVIS WRIGHT TREMAINE LLP
1301 K Street NW, Suite 500             Nana Wilberforce*
Washington, D.C. 20005-7048             nana.wilberforce@wilmerhale.com
Telephone: (202) 973-4288               WILMER CUTLER PICKERING
Facsimile: (202) 973-4499               HALE AND DORR LLP
                                        350 South Grand Avenue, Suite 2400
Attorneys for Plaintiffs Georgia        Los Angeles, California 90071
Muslim Voter Project, Women Watch       Telephone: (213) 443-5300
Afrika, Latino Community Fund           Facsimile: (213) 443-5400
Georgia, and The Arc of the United
States                                  /s/ Sophia Lin Lakin
                                        Sophia Lin Lakin*
*Admitted pro hac vice                  slakin@aclu.org
**Application to be admitted pro hac    Davin M. Rosborough*
vice forthcoming                        drosborough@aclu.org
                                        Jonathan Topaz*
                                        jtopaz@aclu.org
                                        Dayton Campbell-Harris*
                                        dcampbell-harris@aclu.org
                                        ACLU FOUNDATION
                                        125 Broad Street, 18th Floor
                                        New York, New York 10004
                                        Telephone: (212) 519-7836
                                        Facsimile: (212) 549-2539

                                        Susan P. Mizner*
                                        smizner@aclu.org
                                        ACLU FOUNDATION, INC.
                                        39 Drumm Street
                                        San Francisco, CA 94111
                                        Telephone: (415) 343-0781


                                       26
Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 32 of 33




                                 Brian Dimmick*
                                 bdimmick@aclu.org
                                 ACLU FOUNDATION, INC.
                                 915 15th Street NW
                                 Washington, D.C. 20005
                                 Telephone: (202) 731-2395

                                 /s/ Rahul Garabadu
                                 Rahul Garabadu (Bar 553777)
                                 rgarabadu@acluga.org
                                 Caitlin May (Bar 602081)
                                 cmay@acluga.org
                                 Cory Isaacson (Bar 983797)
                                 cisaacson@acluga.org
                                 ACLU FOUNDATION OF GEORGIA, INC.
                                 P.O. Box 570738
                                 Atlanta, Georgia 30357
                                 Telephone: (678) 981-5295
                                 Facsimile: (770) 303-0060

                                 Attorneys for Plaintiffs
                                 Sixth District of the African Methodist
                                 Episcopal Church, Delta Sigma Theta
                                 Sorority, Georgia ADAPT, Georgia Advocacy
                                 Office, and Southern Christian Leadership
                                 Conference




                               27
      Case 1:21-mi-55555-JPB Document 548-1 Filed 05/17/23 Page 33 of 33




                       CERTIFICATE OF COMPLIANCE


      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times

New Roman and a font size of 14.



Dated: May 17, 2023                                   /s/ Laurence F. Pulgram
                                                      Laurence F. Pulgram
                                                      Counsel for Plaintiffs



                          CERTIFICATE OF SERVICE


      I hereby certify that on May 17, 2023, I electronically filed this document with

the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to the attorneys of record.


Dated: May 17, 2023                                   /s/ Laurence F. Pulgram
                                                      Laurence F. Pulgram
                                                      Counsel for Plaintiffs




                                           28
